                                 Case 19-50130-btb                   Doc 2         Entered 02/03/19 23:56:53                           Page 1 of 3


 Fill in this information to identify the case:
 Debtor name DC Solar Solutions, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Americrown                                                                                                                                                             $750,000.00
 Daytona Speedway
 1800 West
 International
 Speedway
 PO Box 2801
 Daytona Beach, FL
 AT&T Mobility                                                                                                                                                          $106,721.61
 PO Box 6463
 Carol Stream, IL
 60197-6463
 CED                                                                                                                                                                    $104,092.79
 PO Box 398847
 San Francisco, CA
 94139-8847
 Charge Point, Inc.                                                                                                                                                     $585,330.76
 Dept LA 24104
 Pasadena, CA
 Chip Ganassi                                                                                                                                                         $4,310,000.00
 Racing, LLC
 8500 Westmoreland
 Dr.
 Concord, NC 28027
 Cranbrook Realty                                                                                                                                                         $81,447.34
 Investment Fund, LP
 4701 Sisk Road,
 Suite 101
 Modesto, CA 95350
 ECI Fuel Systems                                                                                                                                                       $294,726.07
 1794 west 11th St.
 Upland, CA 91786
 Exide c/o Exide                                                                                                                                                      $2,031,653.68
 Technologies
 P.O. Box 933479
 Atlanta, GA
 31193-3479



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 Debtor    DC Solar Solutions, Inc.                                                                           Case number (if known)
           Name

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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hanover Insurance                                                                                                                                                      $185,198.07
 Group, Inc.
 PO Box 580045
 Charlotte, NC
 28258-0045
 International                                                                                                                                                        $1,025,000.00
 Speedway Corp.
 Attn: Accounting
 Department
 PO Box 2801
 Daytona Beach, FL
 32120
 Kansas Speedway                                                                                                                                                        $750,000.00
 Attn: Accounting
 Department
 PO Box 2801
 Daytona Beach, FL
 32120
 Net Jet Sales Inc.                                                                                                                                                     $294,490.73
 PO Box 933300
 Atlanta, GA
 31193-3300
 Pacific Metal Fab                                                                                                                                                      $474,308.69
 LLC
 311 Chambers St.
 PO Box 41090
 Eugene, OR 97404
 Phoenix Motor                                                                                                                                                          $750,000.00
 Speedway
 7602 S. Avondale
 Blvd.
 Avondale, AZ 85323
 Richmond                                                                                                                                                               $750,000.00
 International
 Raceway
 600 East Laburnum
 Ave.
 Richmond, VA
 23222
 Soligent Distibution                                                                                                                                                     $79,927.79
 LLC
 1500 Valley House
 Dr., Suite 210
 Rohnert Park, CA
 94928
 Talladega                                                                                                                                                              $750,000.00
 Superspeedway
 Attn: Accounting
 Department
 PO Box 2801
 Daytona Beach, FL
 32120


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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 US Tower Corp                                                                                                                                                        $2,059,979.11
 1099 West Ropes
 Ave.
 Woodlake, CA 93286
 WEX Fleet                                                                                                                                                                $97,722.82
 PO Box 6293
 Carol Stream, IL
 60197
 Xtreme                                                                                                                                                               $1,156,624.00
 Manufacturing LLC
 8350 Eastgate Road
 Henderson, NV
 89015




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